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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA                                   Hon. John Michael Vazquez

                 v.                                         Crim. No. 18-687 (JMV)

MELISSA REYNOLDS,                                           CONSENT JUDGMENT
                                                            AND ORDER OF FORFEITURE
                 Defendant.                      :          (MONEY JUDGMENT)




        WHEREAS, on or about November 14, 2018, defendant Melissa Reynolds

pleaded guilty pursuant to a plea agreement with the United States to a one-

count Information, which charged her with conspiracy to commit mail and

bank fraud, contrary to 18 U.S.C.          §   1341 and 1344, in violation of 18 U.S.C.

§   1349;

        WHEREAS, pursuant to 18 U.S.C.               §   982(a)(2)(A), a person convicted of

conspiracy to commit mail and bank fraud, contrary to 18 U.S.C.                  §   1341 and

1344, in violation of 18 U.S.C.       §   1349, which affects a financial institution, as

alleged in the Information, shall forfeit to the United States all property, real

and personal, constituting, or derived from, proceeds the person obtained

directly or indirectly as a result of such violation;

        WHEREAS, in the plea agreement, the defendant consented to the

imposition of a criminal forfeiture money judgment in the amount of $548,242,

and stipulated that such amount represents the property constituting, or
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derived from, proceeds the defendant obtained directly or indirectly as a result

of the violation charged in the Information;

      WHEREAS, Rule 32.2(c)(l) of the Federal Rules of Criminal Procedure

provides that no ancillary proceeding is required to the extent that the

forfeiture consists of a money judgment;

      WHEREAS, Rule 32.2(b)(4)(A) of the Federal Rules of Criminal Procedure

provides that a preliminary order of forfeiture, including a preliminary order of

forfeiture consisting of a money judgment, may become final at any time before

sentencing if the defendant consents;

      WHEREAS, defendant Melissa Reynolds:

             (1)   Consents to the forfeiture to the United States of $548,242

as a sum of money representing the property constituting, or derived from,

proceeds the defendant obtained directly or indirectly as a result of the offense

charged in the Information, to which the defendant has pleaded guilty;

             (2)   Consents to the imposition of a money judgment in the

amount of $548,242 pursuant to 18 U.S.C.       § 982(a)(2)(A) (the “Money
Judgment”), and agrees that this Order is final at the time of its entry by the

Court, pursuant to Rule 32.2(b)(4)(A) of the Federal Rules of Criminal

Procedure;

             (3)   Agrees to consent promptly upon request to the entry of any

orders deemed necessary by the government or the Court to complete the

forfeiture and disposition of property forfeited to satisfy the Money Judgment;




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             (4)   Waives the requirements of Federal Rules of Criminal

Procedure 32.2 and 43(a) regarding notice of forfeiture in the charging

instrument, announcement of the forfeiture in the defendant’s presence at

sentencing, and incorporation of the forfeiture in the Judgment of Conviction;

             (5)   Acknowledges that she understands that forfeiture of

property will be part of the sentence imposed upon her in this case and waives

any failure by the Court to advise her of this, pursuant to Federal Rule of

Criminal Procedure 1 1(b)(1)(J), during the plea hearing; and

            (6)    Waives any and all claims that this forfeiture constitutes an

excessive fine and agrees that this forfeiture does not violate the Eighth

Amendment.

       WHEREAS, good and sufficient cause has been shown,

       It is hereby ORDERED, ADJUDGED, AND DECREED:

      THAT, as a result of the offense charged in the Information, to which the

defendant Melissa Reynolds has pleaded guilty, and the Court having accepted

the stipulated amount of the forfeiture in the plea agreement, the defendant

shall forfeit to the United States the sum of $548,242, representing the

property constituting, or derived from, proceeds the defendant obtained directly

or indirectly as a result of such offense. A money judgment in the amount of

$548,242 (the “Money Judgment”) is hereby entered against the defendant

pursuant to 18 U.S.C.   §   g82(a)(2)(A) and Federal Rule of Criminal Procedure

32.2(b).




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      IT IS FURTHER ORDERED that, the defendant having given her consent

pursuant to Federal Rule of Criminal Procedure 32.2(b)(4)(A), upon entry’ of this

Consent Judgment and Order of Forfeiture, this Order is final as to the

defendant Melissa Reynolds, shall be deemed part of the sentence of the

defendant, and shall be included in the judgment of conviction therewith.

      IT IS FURTHER ORDERED that all payments on the Money Judgment

shall be made by postal money order, bank or certified check, made payable, in

this instance to the United States Marshals Service, and delivered by mail to

the United States Attorney’s Office, District of New Jersey, Attn: Asset

Forfeiture and Money Laundering Unit, 970 Broad Street, 7th Floor, Newark,

New Jersey 07102, and shall indicate the defendant’s name and case number

on the face of the check.

      IT IS FURTHER ORDERED that, pursuant to 21 U.S.C.          §   853, the United

States is authorized to deposit all payments on the Money Judgment in the

Assets Forfeiture Fund, and the United States shall have clear title to such

forfeited property.

      IT IS FURTHER ORDERED that, pursuant to Federal Rule of Criminal

Procedure 32.2(b)(3) and 21 U.S.C.   §   853(m), upon entry of this Order, the

United States Attorney’s Office is authorized to conduct any discovery needed

to identify, locate, or dispose of property to satisfy the Money Judgment or to

address third-party claims, including depositions, interrogatories, requests for

production of documents, and the issuance of subpoenas.




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         IT IS FURTHER ORDERED that the Clerk of the Court is directed to

enter a money judgment against the defendant in favor of the United States in

the amount of $548,242.

         IT IS FURTHER ORDERED that this Court shall retain jurisdiction to

enforce this Order and to amend it as necessa

         ORDERED thiq?ty of                       2019.


                                              C’\Q 2P
                                             HONORABLE JOfiA4. VAZQUEZ
                                             United States Distrü% Judge



The undersigned hereby consent to
the entry and form of this Order:

CRAIG CARPENITO
United States Attorney


                                                          Dated:
By:     HONY MOSCATO
   LAKSHMI RMAN
Assistant Uflh&&States Attorneys




             ‘eGROOT, ESQ
                                                          Dated:
                                                                   /)
           for Defendant Melissa Reynolds



                                                          Dated:
MELISA REYNOLDSe’Thnda’IT(                                         )


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